   Case 2:10-md-02179-CJB-DPC Document 2681-1 Filed 06/07/11 Page 1 of 1




                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY THE OIL RIG           *
“DEEP WATER HORIZON” IN THE GULF          *              MDL NO. 2179
OF MEXICO, ON APRIL 20, 2011              *
                                          *              SECTION: J
THIS DOCUMENT RELATED TO:                 *
2011-cv-1195                              *              JUDGE BARBIER
                                          *              MAG. JUDGE SHUSHAN
*******************************************

                                            ORDER


        CONSIDERING THE FOREGOING Ex Parte Motion for Partial Dismissal

(“Motion”) filed herein by Plaintiffs Dale Chaisson, Andrew Chaisson and Lawrence Chaisson,

only:

        IT IS ORDERED that Plaintiffs Dale Chaisson, Andrew Chaisson and Lawrence

Chaisson, only, are hereby DISMISSED from this litigation, with prejudice;

        IT IS FURTHER ORDERED that all remaining Plaintiffs, and all claims asserted

herein, remain viable and survive this Order.



                              _________________________________________________
                              UNITED STATES DISTRICT JUDGE CARL BARBIER




                                                1
